Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 1 of 15 PageID 10130




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

   NAVY SEAL 1, et al., for themselves        )
   and all others similarly situated,         )
                                              )
                       Plaintiffs,            )
   v.                                         ) No. 8:21-cv-2429-SDM-TGW
                                              )
   LLOYD AUSTIN, in his official              )
   capacity as Secretary of the United        )
   States Department of Defense, et al.,      )
                                              )
                       Defendants.            )

        PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
            PRELIMINARY INJUNCTION FOR PLAINTIFF CADET,
                  UNITED STATES AIR FORCE ACADEMY

         Plaintiffs, pursuant to this Court’s Order (Doc. 174 at 1 n.*), hereby submit this

  supplemental memorandum in support of Plaintiffs’ motion for injunctive relief for

  Plaintiff CADET, United States Air Force Academy. (Doc. 157.) For the following

  reasons, the preliminary injunction should issue.

                INTRODUCTION AND FACTUAL BACKGROUND

         As this Court eloquently summarized:

         Here is the short version: Expressly applicable to each branch of the
         federal government, the Religious Freedom Restoration Act (RFRA)
         commands the military to grant to a service member harboring a sincerely
         held religious objection to COVID-19 vaccination a religious exemption
         from the vaccination (1) unless a compelling governmental interest
         requires the vaccination and (2) unless a good faith evaluation, directed
         specifically to the singular circumstances of the service member — that
         is, directed “to the person” requesting the exemption — demonstrates
         that no less restrictive means is available to the military reasonably to
         protect the compelling governmental interest. Under the command of
         RFRA, the military bears the burden of showing both the existence of a
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 2 of 15 PageID 10131




        compelling governmental interest and the absence of a less restrictive
        means of reasonably protecting that interest. In the instance of [CADET],
        the [United States Air Force Academy] ha[s] failed manifestly to offer the
        statutorily required demonstration that no less restrictive means is
        available, and [CADET] is entitled to preliminary injunctive relief that
        (1) permits [him], pending a final determination on a complete record, to
        continue to serve without the vaccination and (2) forbids any punitive or
        retaliatory measure against [him] by the military pending a final
        judgment in this action.

  (Doc. 111, Preliminary Injunction and Order, at 1–2.)

        “The long version follows.” (Doc. 111 at 2.)

        A.     Cadet’s Sincerely Held Religious Beliefs

        Cadet is a Christian with sincerely held religious beliefs that compel him to

  abstain from accepting or receiving anything that has connection to abortion. (Doc.

  157-1, Declaration of USAFA Cadet,, ¶ 4.) When Cadet learned that the COVID-19

  vaccines were connected to abortion, Cadet prayed and sought the Lord on whether it

  was permissible to receive the vaccine. (Id.) After his prayer and study, Cadet

  determined that it would be a sin for him to accept the vaccine. (Id. (“The Word of

  God set forth in the Bible and God’s answers to my prayers showed me that I cannot

  get the shot without compromising my faith. For me to get the COVID shot would be

  a sin against God.”).)

        B.     The United States Air Force Academy’s Sham Religious
               Accommodation Process Is the Same as Defendants’ Other Sham
               Accommodation Processes.

        As Defendants’ prior submissions to this Court reveal, the United States Air

  Force—as a whole—has had 12,623 requests for religious accommodation from the




                                            2
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 3 of 15 PageID 10132




  vaccine mandate. (Doc. 73-5 at 4.) Out of those requests, the Air Force had granted 1

  request for a religious accommodation. (Doc. 73-5 at 4.)

         When he was informed of the COVID-19 vaccine mandate, Cadet was required

  to attend counseling with his commanding officer concerning his religious

  accommodation “to discuss if [he] even qualif[ies] and what the process is.” (Doc. 157-

  1, ¶ 6.) At that counseling, Cadet’s command informed him that he should “manage

  his expectations” because he would not be receiving a religious accommodation from

  the mandate. (Doc. 157-1, ¶ 7.) Despite being told that he would not receive a religious

  accommodation and being guilted into accepting the vaccine, Cadet submitted a

  request for a religious accommodation. (Doc. 157-1, ¶ 9.) As with Navy Commander,

  Marine Lieutenant Colonel 2, and Marine Captain (Doc. 111 at 12, 13–14; Doc. 173

  at 4–5), Cadet had an interview with the Academy Chaplain to determine if his

  religious beliefs were sincere, and the Chaplain determined his beliefs were sincerely

  held and recommended that he be approved for the religious accommodation. (Doc.

  157-1, ¶ 9.)

         Despite receiving a determination of sincerity and a recommendation from the

  Chaplain that he receive a religious accommodation, Cadet received word from his

  command on September 10, 2021 that the review board had recommended his

  religious accommodation request for disapproval. (Doc. 157-1, ¶ 10.) Cadet’s

  command further informed him that his “chances of it being approved are looking

  slim” and that nobody who had submitted a request for religious accommodation had

  been approved. (Doc. 157-1, ¶¶ 11–12.)

                                             3
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 4 of 15 PageID 10133




        Cadet formally received the denial of his request for religious accommodation

  on December 22, 2021. (Doc. 157-1, ¶ 13.) As with Navy Commander, Marine

  Lieutenant Colonel 2, and Marine Captain (see Doc. 111 at 36; Doc. 173 at 12–13), the

  Department of the Air Force stated that it was unable to provide a religious

  accommodation to Cadet because of the generalized interests in “mission

  accomplishment, including military readiness, unit cohesion, good order and

  discipline, and the health and safety of all cadets.” (Doc. 157-1, ¶ 14; Doc. 157-1 at

  A7.) Cadet was given five days to receive the COVID-19 vaccine or face discipline.

  (Doc. 157-1 at A7–A8.)

        On January 12, 2022, Cadet timely submitted his appeal of the denial of his

  religious accommodation request. (Doc. 157-1, ¶ 25.) On March 30, Cadet received

  the final denial of his appeal. (Doc. 157-1, ¶ 27.) The Department of the Air Force’s

  formal denial of Cadet’s appeal stated in generalized terms that “[t]he Department of

  the Air Force has a compelling government interest in requiring you to comply with

  the requirement for the COVID-19 immunization because preventing the spread of

  disease among the force is vital to mission accomplishment.” (Doc. 157-1 at A13.) The

  denial states that a religious accommodation would “place health and safety, unit

  cohesion, and readiness at risk.” (Doc. 157-1 at A13.) And, it claims that “[t]here are

  no less restrictive means available in your circumstances as effective as receiving the

  above immunization in furthering these compelling interests.” (Doc 157-1 at A13.)




                                            4
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 5 of 15 PageID 10134




        On March 30, 2022, Cadet also received an Order mandating that Cadet submit

  to COVID-19 vaccination within five calendar days or “Submit a Form 34 to

  voluntarily resign from USAFA.” (Doc. 157-1 at A14.)

        D.     Cadet’s Status As An Academy Enrollee Makes No Substantive
               Difference Under RFRA Or The Air Force’s COVID-19 Vaccination
               Orders.

        That Cadet is an enrollee at the United States Air Force Academy makes no

  substantive difference under RFRA, as the Orders for Cadet to receive the COVID-19

  vaccine or face discipline arise from the Air Force itself. (See Doc. 157-1 at A7, A13,

  A14.) The mandate imposed upon Cadet derives from the Air Force’s mandate itself,

  and the denials of Cadet’s requested religious exemptions are issued by the Air Force

  itself. (See Doc. 157-1 at A7, A13, A14.) Thus, Cadet’s status as a servicemember at

  the United States Air Force Academy is of little consequence to the analysis, though

  Plaintiffs raise this issue to address the Court’s questions as to the impact of his

  academy enrollee status on the preliminary injunction. (Doc. 174 at 1 n.*.) All actions

  taken against Cadet, including the vaccine mandate, the denial of his request for a

  religious accommodation, and the final denial of his appeal, directly result from the

  Department of the Air Force’s COVID-19 vaccination mandate. (See Doc. 157-1 at

  A14 (“Your appeal for religious accommodation from the COVID-19 vaccination was

  denied by the Air Force Surgeon General. . . . Therefore, in accordance with the

  Secretary of the Air Force memorandum of 7 December 2021, ‘Supplemental

  Coronavirus Disease 2019 Vaccination Policy,’ I am ordering you to do one of the

  following within five (5) calendar days upon receipt of this memorandum: a. Begin a

                                            5
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 6 of 15 PageID 10135




  COVID-19 vaccination regimen; or b. Submit a Form 34 to voluntarily resign from

  USAFA.”).)

                                 LEGAL ARGUMENT

  I.    CADET HAS A SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE
        MERITS OF HIS RFRA CLAIMS AGAINST DEFENDANTS’ VACCINE
        MANDATE.

        A.     Defendants’ Vaccine Mandate            Substantially    Burdens    Cadet’s
               Sincerely Held Religious Beliefs.

        To determine whether the Federal COVID-19 Vaccine Mandate imposes a

  substantial burden on Plaintiffs’ sincere religious beliefs, “the question that RFRA

  presents [is] whether the [vaccine] mandate imposes a substantial burden on the ability

  of the objecting parties to conduct business in accordance with their religious beliefs.”

  Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 724 (2014). As this Court has already

  held, “[g]overnmental action coercing a direct violation of a religious belief imposes a

  substantial burden.” (Doc. 111 at 32.)

        Cadet is a Christian with sincerely held religious beliefs that compel him to

  abstain from accepting or receiving anything that has connection to abortion. (Doc.

  157-1, ¶ 4.) When Cadet learned that the COVID-19 vaccines were connected to

  abortion, Cadet prayed and sought the Lord on whether it was permissible to receive

  the vaccine. (Id.) After his prayer and study, Cadet determined that it would be a sin

  for him to accept the vaccine. (Id. (“The Word of God set forth in the Bible and God’s

  answers to my prayers showed me that I cannot get the shot without compromising

  my faith. For me to get the COVID shot would be a sin against God.”).) Thus,



                                             6
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 7 of 15 PageID 10136




  identically to Navy Commander, Marine Lieutenant Colonel 2, and Marine Captain

  (Doc. 111 at 33; Doc. 173 at 11), Cadet faces the unconscionable choice of violating a

  direct order or violating his conscience. That is a substantial burden on his religious

  beliefs.

         As this Court held with respect to Navy Commander and Marine Lieutenant

  Colonel 2, “[t]he fact of, and the consequences of, disobeying a direct order doubtlessly

  pressure [Cadet] to alter [his] religious practice.” (Doc. 111 at 33.) Indeed, the

  Department of the Air Force’s COVID-19 vaccination requirement “puts [Cadet] to

  this choice,” and, as a result, “the requirement to vaccinate substantially burdens

  religious exercise.” (Doc. 111 at 33.) (See also Doc. 173 at 11 (“And because the [Air

  Force’s order—on threat of separation or other punitive action—to receive COVID-

  19 vaccination puts [Cadet] to the choice of accepting vaccination or violating his

  sincerely held religious beliefs, the order substantially burdens [Cadet’s] sincere

  religious exercise.” (cleaned up)).) Here, Defendants have put Cadet to the choice:

  accept COVID-19 vaccination, voluntarily resign, or face discipline and administrative

  separation. (Doc. 157-1 at A14.) Defendants’ actions unquestionably burden Cadet’s

  sincerely held religious beliefs.

         B.     Because Defendants’ Vaccine Requirement Substantially Burdens
                Cadet’s Sincerely Held Religious Beliefs, They Are Required—but
                Fail—to Satisfy Strict Scrutiny.

         As this Court has held numerous times, Defendants are required to demonstrate

  a compelling government interest and the least restrictive means as it relates directly

  to Cadet. Indeed, “RFRA’s focus on ‘the burden to the person’ demands more than


                                             7
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 8 of 15 PageID 10137




  dismissive, encompassing, and inflexible generalizations about the government’s

  interest and about the absence of a less restrictive alternative.” (Doc. 111 at 34.) And,

  Defendants “must discharge both of RFRA’s burdens ‘through application of the

  challenged law to the person—the particular claimant whose sincere exercise of

  religion is being substantially burdened.” (Doc. 111 at 34 (quoting Gonzalez v. O Centro

  Espirita Beneficiente Uniao do Vegetal, 546 U.S. 418, 430-31 (2006)).) Moreover, “[t]hat

  the military must demonstrate ‘to the person’ analysis is no mere formality.” (Doc.

  173 at 13.) “RFRA requires that a district court ‘scrutinize the asserted harm of

  granting specific exemptions to the particular religious claimants’—in other words, to

  look to the marginal interest in enforcing the mandate.” (Doc. 173 at 13 (quoting Hobby

  Lobby, 573 U.S. at 726).) Defendants utterly fail to discharge either of those burdens.

        In fact, ignoring what this Court has ordered multiple times and what RFRA

  plainly demands of them, Defendants continue to “persistently and resolutely cling to

  the belief that their accustomed and unfettered command discretion need not yield—

  on the narrow and specific question of the free exercise of religion—to the statutory

  command of RFRA.” (Doc. 122 at 9.) Defendants continue in their charted course “as

  if RFRA does not exist or has no application to the military or is a matter subject to

  the command discretion of the military.” (Doc. 122 at 10.) “The military designs to

  avoid the ‘to the person’ test, but the statute is unflinching” (Doc. 122 at 15), and

  Defendants fail to yield to its commands or to discharge the burden it places upon

  them. Indeed, whether Defendants can satisfy the ‘to the person’ test for a compelling

  government interest and the least restrictive means is “the question that RFRA burdens

                                             8
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 9 of 15 PageID 10138




  the defendants to answer. They have not.” (Doc. 122 at 17.) And, they have not

  because they cannot. The preliminary injunction should issue.

               1.        Defendants’ fail to discharge their burden under RFRA to
                         demonstrate that forcing Cadet to comply with the vaccine
                         mandate is supported by a compelling interest.

        “[T]he government must proffer ‘specific and reliable evidence (not formulaic

  commands, policies, and conclusions demonstrating that the marginal benefit flowing

  from a specific denial . . . furthers a compelling governmental interest.” (Doc. 111 at

  34 (quoting Gonzales, 546 U.S. at 430-31).) Put simply, as this Court has held, “a

  district court must not defer to an official’s ‘mere say-so that the official could not

  accommodate’ a request.” (Doc. 111 at 35 (quoting Holt v. Hobbs, 574 U.S. 352, 369

  (2015)).) “In satisfying this burden of applying RFRA to the person, ‘broadly

  articulated governmental interests and broadly articulated demands of military life’

  will not suffice.” (Doc. 173 at 12; Doc. 111 at 38.) Defendants fail to demonstrate that

  imposing the vaccine mandate on Cadet is supported by a compelling interest.

        As with Navy Commander, Marine Lieutenant Colonel 2, and Marine Captain,

  Defendants    assert     mere   generalized       interests   to   deny   Cadet’s   requested

  accommodation. (See Doc. 157-1 at 21.) Specifically, the Air Force asserted that it “has

  a compelling government interest in requiring you to comply with the requirement for

  COVID-19 immunization because preventing the spread of disease among the force is

  vital to mission accomplishment.” (Doc. 157-1 at A13.) The appeal denial letter further

  states that the Air Force has a compelling government interest in “health and safety,

  unit cohesion, and readiness,” as well as “military readiness and public health and

                                                9
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 10 of 15 PageID 10139




   safety.” (Doc. 157-1 at A13.) This is precisely the government interest asserted by the

   Navy and Marine Corps as it related to Navy Commander, Marine Lieutenant

   Colonel 2, and Marine Captain. (See Doc. 111 at 36 (noting the Navy’s asserted

   government interest in mandating Navy Commander’s vaccination as “mission

   accomplishment,” “military readiness,” “unit cohesion,” and “military readiness and

   health of the force”); Doc. 111 at 37 (noting the Marine Corps’ asserted government

   interest in mandating Lieutenant Colonel 2’s vaccination as “military readiness” and

   “health and safety of the force”); Doc. 173 at 13 (noting the Marine Corps’ asserted

   interest in mandating Captain’s vaccination as “military readiness” and “health and

   safety of the force”).)

          As this Court has already stated, a review of Cadet’s denial letters “reveals the

   same infirmities that plague” the Navy and Marine Corps’ denials of Navy

   Commander, Marine Lieutenant Colonel 2, and Marine Captain’s requests for

   religious accommodation. (Doc. 173 at 13.) In fact, the asserted government interests

   are identical in all instances. Defendants come to this Court with little more than

   “military readiness,” “unit cohesion,” “health and safety of the force,” and “demands

   of military life” for all RFRA claimants before this Court. Defendants’ contentions to

   this Court fail to satisfy RFRA’s burden because they “reveal only generalized and

   ethereal conclusions above interests of the ‘Total Force.’ [No] letter demonstrates

   analysis directed ‘to the person.’” (Doc. 173 at 13.)

          Put simply, “the government has not shown that the stated interests cannot be

   reasonably preserved without subjecting [Cadet] to vaccination contrary to a sincerely

                                              10
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 11 of 15 PageID 10140




   held religious belief protected by RFRA or, given refusal to vaccinate, separating [him]

   from service.” (Doc. 111 at 40.) Indeed, Defendants’ “justifications for denying a

   religious accommodation to [Cadet] are elementally inadequate under RFRA.” (Doc.

   111 at 39.) “RFRA demands more” (Doc. 111 at 38), and Defendants offer less. The

   preliminary injunction should issue as to Cadet because Defendants have failed to

   adequately demonstrate a compelling government interest in mandating vaccination

   to the person of Cadet.

                2.       Defendants fail to discharge their burden under RFRA to
                         demonstrate that forcing Cadet to comply with the vaccine
                         mandate is the least restrictive means.

         As was true with Navy Commander, Marine Lieutenant Colonel 2, and Marine

   Captain, Defendants’ denials of Cadet’s requested religious accommodation—once

   again—rely on mere “generalized interests of a less restrictive means” plainly

   insufficient under RFRA. (Doc. 111 at 40.) In fact, the letter denying Cadet’s appeal

   claims—without any evidence or contrary considerations—that “[t]here are no less

   restrictive means available in your circumstance as effective as receiving the above

   immunization.” (Doc. 157-1 at A13.) And, Defendants’ initial denial of Cadet’s

   religious accommodation request was even more formulaic:

         [T]he COVID-19 vaccine is the single most effective tool in protecting
         the health and safety of each member and unit. It is also the least
         restrictive means available to accomplish the compelling government
         interest and mitigate the risk to military readiness, unit cohesion, good
         order and discipline, health, and safety. Other measures, including
         masking and testing, do not provide comparable protection to you and
         those with in-person contact.

   (Doc. 157-1 at A7.)

                                             11
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 12 of 15 PageID 10141




             Defendants’ denial of Cadet’s appeal was based merely on Defendants’ asserted

   “magic words” (Doc. 111 at 41), as if restating the allegedly compelling government

   interest in military readiness, unit cohesion, order and discipline, and public health

   satisfy the least restrictive means. As Mark Twain once opined, “saying so don’t make

   it so.” Mark Twain, The Adventures of Tom Sawyer 4 (1876). As was true of the Marines’

   treatment of Marine Captain, the Air Force “identifies no evidence detailing why the

   vaccination of [Cadet] is on the margin a critical component of [Cadet’s] individual or

   unit readiness.” (Doc. 173 at 14.) In fact, the Air Force “provided neither sources nor

   reasoning.” (Doc. 173 at 14.) In sum, the Air Force’s denials of Cadet’s requested

   religious accommodation and appeal “employ[] similar conclusory statements [and]

   present[] little or nothing for a district court to scrutinize.” (Doc. 173 at 14.) The Air

   Force “offers only a simulacrum of reasoning, but never reasoning itself.” (Doc. 173

   at 14.)

             As was true of Navy Commander and Marine Lieutenant Colonel 2, “[t]he

   administrative record documenting the denial of [Cadet’s] request for a religious

   exemption fails to evidence the required ‘to the person’ evaluation of whether a less

   restrictive means is available to further a compelling governmental interest” (Doc. 111

   at 42), and represents little more than “generalizations tweaked to mimic reasoning.”

   (Doc. 173 at 17.) Such evidentiary legerdemain does not suffice under RFRA, and the

   preliminary injunction should issue.




                                               12
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 13 of 15 PageID 10142




   II.    CADET FACES IMMEDIATE AND IRREPARABLE INJURY ABSENT
          A PRELIMINARY INJUNCTION.

          “[T]here can be no question that the challenged restrictions, if enforced, will

   cause irreparable harm. The loss of First Amendment freedoms, for even minimal

   periods of time, unquestionably constitutes irreparable injury.’” Roman Catholic Diocese

   of Brooklyn v. Cuomo, 141 S. Ct. 62, 67 (2020) (quoting Elrod v. Burns, 427 U.S. 347, 373

   (1976)). As this Court has held, “the substantial pressure on a religiously objecting

   servicemember to obey the COVID-19 vaccination order and violate a sincerely held

   religious belief constitutes an irreparable injury redressable by a preliminary

   injunction.” (Doc. 111 at 44–45.) Indeed, “[r]equiring a servicemember either to

   follow a direct order contrary to a sincerely held religious belief or to face immediate

   processing for separation or other punishment undoubtedly causes irreparable harm.”

   (Doc. 111 at 45.)

          Here, Defendants have put Cadet to the choice: accept COVID-19 vaccination,

   voluntarily resign, or face discipline and administrative separation. (Doc. 157-1 at

   A14.) Thus, because Cadet “faces immediate processing for separation or other

   punishment, the record shows irreparable harm will result absent injunctive relief.”

   (Doc. 173 at 18.)

   III.   THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST FAVOR
          INJUNCTIVE RELIEF.

          As this Court has already held, “the public has no interest in tolerating even a

   minimal infringement on Free Exercise.” (Doc. 111 at 45.) Indeed, “no injury to the

   public results from recognizing a person’s constitutional or statutory right or from


                                              13
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 14 of 15 PageID 10143




   ‘encouraging’ a person to vindicate that right in federal court.” (Doc. 111 at 46.) In

   vivid contrast, the only harm that befalls Defendants in the instant matter is a self-

   inflicted wound. As this Court held, “to the extent a substantial disruption results from

   the defendants’ systemic failure to assess a religious exemption request to the person,

   the ‘harm’ suffered by defendants results from the defendants’ own failure to comply

   with RFRA.” (Doc. 111 at 46.) Cadet “requests only narrow, specific, and temporary

   relief and only that [should be] granted.” (Doc. 173 at 19.) “Both the balance of the

   equities and public interest favor [Cadet].” (Doc. 173 at 19.) The preliminary

   injunction should issue.

                                      CONCLUSION

         Because Defendants’ COVID-19 vaccination mandate imposes a substantial

   burden on Cadet’s sincerely held religious beliefs, and because Defendants have not—

   and cannot—satisfy their burden under strict scrutiny, the preliminary injunction

   should issue.




                                              14
Case 8:21-cv-02429-SDM-TGW Document 180 Filed 04/27/22 Page 15 of 15 PageID 10144




                                     Respectfully submitted,

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                                       15
